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Student Activity for Andrew U. D. Straw (1201485)
From 06/01/2024 to 06/19/2025



  Posted Date                          Item                               Campus                    Term        Charge     Payment
   01/13/2025                 Direct Deposit Refund                 The University of Maine       2025 Spring    3955.00
   01/13/2025               Sallie Mae Graduate Loan                The University of Maine       2025 Spring                 200.00
   01/12/2025             Fed Direct Unsubsidized Loan              The University of Maine       2025 Spring                4491.00
   01/12/2025             Fed Direct Unsubsidized Loan              The University of Maine       2025 Spring                3770.00
   12/21/2024                   Online Course Fee                   The University of Maine       2025 Spring      75.00
   12/21/2024              Tuition Grad Online Program              The University of Maine       2025 Spring    1824.00
   12/06/2024                   Online Course Fee                   The University of Maine       2025 Spring      75.00
   12/06/2024              Tuition Grad Online Program              The University of Maine       2025 Spring    1824.00
   10/21/2024                   Online Course Fee                   The University of Maine        2024 Fall      -18.75
   10/21/2024              Tuition Grad Online Program              The University of Maine        2024 Fall     -456.00
   10/17/2024                    Digital Textbook                   The University of Maine        2024 Fall      -67.92
   09/27/2024             Fed Direct Unsubsidized Loan              The University of Maine        2024 Fall                -1607.00
   09/26/2024             Fed Direct Unsubsidized Loan              The University of Maine        2024 Fall                10142.00
   09/24/2024             Fed Direct Unsubsidized Loan              The University of Maine        2024 Fall                -1561.00
   09/24/2024                   Outside Scholarship                 The University of Maine        2024 Fall                -1000.00
   09/23/2024             Fed Direct Unsubsidized Loan              The University of Maine        2024 Fall                -8581.00
   09/23/2024                   Online Course Fee                   The University of Maine        2024 Fall      -56.25
   09/23/2024              Tuition Grad Online Program              The University of Maine        2024 Fall    -1368.00
   09/04/2024                 AMP Course Material                   The University of Maine        2024 Fall     -239.99
   09/03/2024                 AMP Course Material                   The University of Maine        2024 Fall      239.99
   08/29/2024                    Digital Textbook                   The University of Maine        2024 Fall       67.92
   08/26/2024                 Direct Deposit Refund                 The University of Maine        2024 Fall     9243.00
   08/24/2024             Fed Direct Unsubsidized Loan              The University of Maine        2024 Fall                10142.00
   08/24/2024                   Outside Scholarship                 The University of Maine        2024 Fall                 1000.00
   07/12/2024                 Direct Deposit Refund                 The University of Maine      2024 Summer     3624.00
   07/09/2024             Fed Direct Unsubsidized Loan              The University of Maine      2024 Summer                  693.00
   07/08/2024             Fed Direct Unsubsidized Loan              The University of Maine      2024 Summer                 4830.00
   07/08/2024                   Online Course Fee                   The University of Maine        2024 Fall       75.00
   07/08/2024              Tuition Grad Online Program              The University of Maine        2024 Fall     1824.00
   07/02/2024                   Online Course Fee                   The University of Maine      2024 Summer       75.00
   07/02/2024   Tuition Grad Online Program - Contemp Disability    The University of Maine      2024 Summer     1824.00
                                      Theory
   06/10/2024                   Online Program Fee                  The University of Maine      2024 Summer      -75.00
   06/10/2024   Tuition Grad Online Program - Topics in Peace &     The University of Maine      2024 Summer    -1824.00
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